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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    Root, Inc., et al.,                            :
                                                   :    Case No. 2:23-cv-512
                      Plaintiffs,                  :
                                                   :    Judge Sarah D. Morrison
            v.                                     :
                                                   :    Magistrate Judge Elizabeth Preston Deavers
    Silver, et al.,                                :
                                                   :
                      Defendants.                  :

    JOINT MOTION FOR DISMISSAL OF PAIGE MCDANIEL WITHOUT PREJUDICE

           Pursuant to Rule 21 of the Federal Rules of Civil Procedure, Plaintiffs Root, Inc., Caret

Holdings, Inc., and Root Insurance Agency, LLC (“Root”) and Defendant Paige McDaniel

(“McDaniel”) jointly move for dismissal of McDaniel without prejudice.1                   Plaintiffs have

consulted with counsel for all Defendants that have entered an appearance in this litigation, and

none of them object to this Motion.




1
 Root and McDaniel bring this motion under Rule 21 because a Rule 41 joint stipulation of dismissal is not
applicable because the parties are seeking dismissal of only one defendant, and not dismissal of the entire
action. See Espinosa v. First Advantage Background Servs. Corp., 2023 U.S. Dist. LEXIS 46046, at *1-2
(S.D. Ohio March 17, 2023) (Rule 21, not 41, is proper procedural vehicle in this context).
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 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was filed electronically on

this 24th day of October, 2024 with the Clerk of Court using the CM/ECF system. Service will be

made through the Court’s CM/ECF system on all parties and attorneys so registered, and all parties

may access this filing through the Court’s system.



                                             /s/Elizabeth S. Alexander
                                             Elizabeth S. Alexander (0096401)

                                             Counsel for Plaintiffs




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